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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                      Case No. 2:16-cr-20460
       Plaintiff,
                                                      Hon. Mark A. Goldsmith
 v.

 D-2 CARLO WILSON,

       Defendant.

 —————————————————————————————————/

                 MOTION FOR DISCLOSURE OF EACH
           CO-CONSPIRATOR STATEMENT THE GOVERNMENT
                 INTENDS TO INTRODUCE AT TRIAL

       Carlo Wilson, through counsel, pursuant to the Fifth, Sixth and Eighth

 Amendments to the United States Constitution and Federal Rule of Evidence

 801(d)(2)(E), respectfully moves this Court for an order requiring the government

 to disclose all out-of-court statements that it will attempt to introduce under

 Federal Rule of Evidence 801(d)(2)(E). Mr. Wilson also moves the Court for an

 order setting a separate hearing for a pre-trial determination as to the admissibility

 of each alleged co-conspirator statement. In the alternative, Mr. Wilson moves the

 Court for an order requiring the government to submit pretrial written proffers

 outlining admissibility under Rule 801(d)(2)(E) for each coconspirator statement it
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 seeks to admit.1

       In support of this motion, Mr. Wilson states:

       1.     The grand jury indicted Mr. Wilson in a Second Superseding

 Indictment filed February 28, 2018. Dkt. 292. Mr. Wilson pleaded not guilty to the

 charges. Dkt. 302.

       2.     The Second Superseding Indictment includes special findings that

 authorize the government to seek a sentence of death, pursuant to 18 U.S.C. §

 3591. On March 1, 2018, the government filed its notice of intent to seek a

 sentence of death against Mr. Wilson. Dkt. 293. Trial is scheduled for April 21,

 2020. Dkt. 475. Included in the Indictment are charges against ten alleged co-

 conspirators. The discovery received thus far indicates numerous uncharged

 alleged coconspirators.

       3.     In the Indictment, the government alleges that Mr. Wilson was part of

 the “6 Mile Chedda Grove” street gang, which appears by the government’s

 allegations to be comprised of young men who grew up within a particular,

 approximate, square mile area of Detroit, Michigan. The government alleges that

 this group of young men, eleven of whom are included in the Indictment in this

 1
       Mr. Wilson joined in the motion by codefendant Patrick Johnson, titled
 Motion for a Written Proffer and Hearing on Admissibility of Co-Conspirators'
 Statements Under FRE 801(d)(2)(E) [Dkt. 371]. See Dkt. 438. Mr. Wilson
 submitted a reply. See Dkt. 523. He submits this motion because he is being tried
 under penalty of death separately from Mr. Johnson and other Group 1
 codefendants and seeks to have the Court separately rule on this motion.
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 case, participated in illegal narcotics distribution and incorporated various insignia

 to identify their group. The government alleges a conspiracy involving a pattern of

 racketeering activity, including murder, robbery, and dealing in controlled

 substances. Seven of the counts in the Indictment, as alleged by the government,

 concern Mr. Wilson.

       4.     Mr. Wilson respectfully moves this Court for an order requiring the

 Government to disclose all out-of-court statements that it will attempt to introduce

 under Federal Rule of Evidence 801(d)(2)(E). Mr. Wilson also moves the Court for

 an order setting a separate hearing for a pre-trial determination as to the

 admissibility of each alleged co-conspirator statement. In the alternative, Mr.

 Wilson moves the Court for an order requiring the government to submit pretrial

 written proffers outlining admissibility under Rule 801(d)(2)(E) for each co-

 conspirator statement it seeks to admit

       5.     The government, through its Assistant United States Attorney, does

 not concur in this motion.

                                Respectfully submitted,

                                By: s/ Jacqueline K. Walsh
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 DATED: October 19, 2018             Attorney for Mr. Wilson
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   MEMORANDUM IN SUPPORT OF CARLO WILSON’S MOTION FOR
    DISCLOSURE OF EACH CO-CONSPIRATOR STATEMENT THE
        GOVERNMENT INTENDS TO INTRODUCE AT TRIAL

                                       Issue Presented

       The issue before this Court is whether the government must disclose pretrial

 each co-conspirator statement it intends to introduce. And if so, whether this Court

 should order the government to meet admissibility requirements under Fed. R.

 Evid. 801(d)(2)(E) either at a pretrial hearing or through a pretrial written proffer.
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                       Controlling Authority for the Relief Sought

       Fed. R. Evid. 801(d)(2)(E) and the Fifth, Sixth, and Eighth Amendments to

 the United States Constitution. See also United States v. Vinson, 606 F.2d 149 (6th

 Cir. 1979).

                                       ARGUMENT

       Based on a review of the discovery turned over thus far, defense counsel

 anticipates that the government will attempt to introduce numerous statements at

 trial allegedly made by the defendants (and others), under Federal Rule of

 Evidence (FRE) 801(d)(2)(E), as co-conspirator statements made in furtherance of

 a common conspiracy. The admissibility of such statements is wholly conditioned

 upon proof that a conspiracy existed between the declarant coconspirator and the

 defendant against whom the statements are sought to be introduced. The

 government bears the burden of establishing that the statements were made during

 the course of and in furtherance of the conspiracy.

       Before any out-of-court statements are admissible at trial as co-conspirator

 statements, the government must prove the existence of a conspiracy that covered

 the time and context in which the statement was made. According to FRE 801

 (d)(2)(E), statements of alleged co-conspirators are not considered hearsay

 testimony if it can be shown by a preponderance of the evidence that (1) a

 conspiracy existed to which the declarant and the defendant against whom the
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 statement(s) are offered were sufficiently connected; (2) that the statements were

 made in furtherance of the same conspiracy; and (3) that the statements were made

 during the course of the conspiracy prior to its termination or withdrawal. See

 Bourjaily v. United States, 483 U.S. 171(1987). Statements made to conceal

 criminal conduct after the main objective of the conspiracy has either failed or

 been achieved are not admissible as co-conspirator statements. See Lutwak v.

 United States, 344 U.S. 604, 616-18 (1953); see also Dutton v. Evans, 400 U.S. 74,

 81 (1970) (“It is settled that in federal conspiracy trials the hearsay exception that

 allows evidence of an out-of-court statement on one conspirator to be admitted

 against his fellow conspirators applied only if the statement was made in the course

 of and in furtherance of the conspiracy, and not during a subsequent period when

 the conspirators were engaged in nothing more than concealment of the criminal

 enterprise.”).

       Beyond the proof of a conspiracy and the duration of each conspiracy, the

 government must prove that the statements were made “in furtherance of the

 conspiracy”; that is, the statements “were intended to promote the ‘objectives of

 the conspiracy.’” United States v. Warman, 578 F.3d 320, 338 (6th Cir. 2009)

 (internal citation omitted); see id. (“Whether a statement was in furtherance of a

 conspiracy turns on the context in which it was made and the intent of the declarant

 in making it.”). The Sixth Circuit has ruled it error to admit co-conspirator
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 statements that constituted “idle chatter or bragging” between a defendant and

 alleged coconspirator even though the subject matter of the statements involved

 discussion of criminal behavior. Id. at 339-40. The Court interprets “strictly” the

 “in furtherance” requirement.” Id.

       Under Sixth Circuit law, this Court has three options for considering the

 admissibility of coconspirator statements under Fed. R. Evid. 801(d)(2)(E). First,

 the Court may conduct a “minihearing” at which the government attempts to meets

 its burden of establishing admissibility. United States v. Vinson, 606 F.2d 149, 152

 (6th Cir. 1979). This is appropriate “if the circumstances warrant.” Id. Second, the

 Court may require the government to “produc[e] the non-hearsay evidence of

 conspiracy first prior to making” the admissibility findings. Id. at 152-53. An

 efficient means of making the findings is to require the government to submit

 pretrial written proffers for each coconspirator statement it seeks to admit outlining

 each statement’s admissibility under Rule 801(d)(2)(E). See, e.g., United States v.

 Rodriguez, 975 F.2d 404, 406 (7th Cir. 1992) (describing use of pre-trial

 proffers—so-called “Santiago proffers”—that require the Government to establish

 admissibility elements of coconspirator statements and “suggest[ing] that the use

 of pre-trial Santiago proffers can be an efficient method of making the preliminary

 Fed. R. Evid. 801(d)(2)(E) determination.”). The third method the Court may use

 to consider the admissibility of co-conspirator statements is to conditionally admit
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 the statements during trial subject to the government’s later demonstration before

 the jury of their admissibility. Should the government fail to meet its burden, the

 inadmissible statements will have been put before the jury and therefore a mistrial

 may be required.

       This Court should require a pretrial mini-hearing pursuant to Vinson. The

 circumstances warrant such a hearing. In this death penalty case at which the

 government seeks a death sentence, the Court must adhere to heightened standards

 of fact-finding. California v. Ramos, 463 U.S. 992, 998-99 (1983) (recognizing

 “the qualitative difference of death from all other punishments requires a

 correspondingly greater degree of scrutiny of the capital sentencing

 determination.”); Eddings v. Oklahoma, 455 U.S. 104, 110 (1982) (internal citation

 omitted) (“[T]he imposition of death by public authority is . . . profoundly different

 from all other penalties”). For this reason, our system of justice must indulge

 “extraordinary measures to ensure that the prisoner sentenced to be executed is

 afforded a process that will guarantee, as much as is humanly possible, that the

 sentence was not imposed out of whim, passion, prejudice, or mistake.” Eddings,

 455 U.S. at 118 (O’Connor, J. concurring). Risks of improper imposition of the

 death penalty should be avoided due to the death penalty’s finality and severity.

 Beck v. Alabama, 447 U.S. 625, 638 (1980). When the death penalty is sought by

 the government, criminal proceedings must conform to a heightened standard of
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 reliability, and will be subject to close appellate scrutiny. Stringer v. Black, 503

 U.S. 222, 230 (1992).

       In this case, Mr. Wilson is subject not only to a culpability finding, but also

 to a penalty phase determination by the same jury. Should the Court conditionally

 admit statements that are later determined to be inadmissible, even if the error is

 harmless for culpability purposes, there is an unacceptable risk that the

 inadmissible evidence will infect the penalty phase proceeding. In the context of

 this death penalty case, protestations that a pretrial hearing is burdensome, time-

 consuming, and uneconomic ring hollow. Other circuits, in fact, even in the run-of-

 the-mill case, indicate a “strong preference” for pretrial hearings to determine

 admissibility of co-conspirator statements. United States v. Gonzalez-Montoya, 161

 F.3d 643, 648 (10th Cir. 1998). A pretrial hearing is economic in that it avoids the

 necessity of a mistrial should the Court conditionally admit hearsay statements for

 which the government fails later to establish admissibility under Rule 801(d)(2)(E).

 With respect to protestations about witness safety, particularly as the case moves

 closer to trial, the identities of informants and cooperating witnesses are not

 secrets.2 Even at this juncture, the defense believes it knows at least some of the

 identities of cooperating witnesses. Any claim that witness safety is a basis to deny

 2
        For example, in discovery, some informants’ names have been revealed by
 the government, presumably inadvertently. If witness safety were so paramount as
 to be a basis to deny a defendant access to co-conspirators’ statements, it is
 difficult to imagine that the government would permit such errors to happen.
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  Mr. Wilson access pretrial to co-conspirators’ statements appears merely a means

  to convince the Court to avoid a pretrial hearing. There is no compelling reason

  why this Court should not require the government to meets its burden under Rule

  801(d)(2)(E) at a pretrial mini-hearing. This Court has ample authority and

  discretion to do so.

        Should the Court decide that it will not hold a pretrial mini-hearing

  concerning the admissibility of co-conspirator statements, in the alternative, the

  Court should require the government to submit pretrial written proffers outlining

  admissibility of each co-conspirator statement under Rule 801(d)(2)(E). There is

  no argument that this is burdensome, time consuming, or uneconomic. And this at

  least will avoid the jury hearing potentially inadmissible and unfairly prejudicial

  testimony that may infect both the culpability and penalty phase proceedings of

  Mr. Wilson’s capital trial.

                                        CONCLUSION

        Mr. Wilson, through counsel, respectfully moves this Court for an order

  requiring the government to disclose all out-of-court statements that it will attempt

  to introduce under Federal Rule of Evidence 801(d)(2)(E). Mr. Wilson also moves

  the Court for an order setting a separate hearing for a pre-trial determination as to

  the admissibility of each alleged co-conspirator statement. In the alternative, Mr.

  Wilson moves the Court for an order requiring the government to submit pretrial
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  written proffers outlining admissibility under Rule 801(d)(2)(E) for each co-

  conspirator statement it seeks to admit.

                                 Respectfully submitted,

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  DATED: October 19, 2018

                             CERTIFICATE OF SERVICE

        I, Jacqueline K. Walsh, hereby certify that on October 19, 2018. I

  electronically served the forgoing document with the Clerk of the Court using the

  ECF system which will send notification to all parties.


                                      s/ Jacqueline K. Walsh
                                      Jacqueline K. Walsh
